                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

  UNITED STATES OF AMERICA,                     )
                                                )
                Plaintiff,                      )
                                                )
  v.                                            )      No.:    3:07-CR-51-TAV-HBG-6
                                                )
  LASHONDA HALL,                                )
                                                )
                Defendant.                      )


                        MEMORANDUM OPINION AND ORDER

         This criminal case is before the Court on defendant’s motions for a sentence

  reduction [Docs. 770, 829, 840]. In defendant’s first pro se motion and corresponding

  supplement, defendant requests that the Court resentence her pursuant to 18 U.S.C. §

  3582(c)(2) and in accordance with Amendment 782 and Amendment 788 to the United

  States Sentencing Guidelines Manual (“USSG”) [Docs. 770, 840]. The government has

  responded and defers to the Court’s discretion whether and to what extent to grant any such

  reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2) and section 1B1.10 of the

  USSG.

         In defendant’s second pro se motion, defendant requests a sentence reduction

  pursuant to 18 U.S.C. § 3742(e), emphasizing her efforts at post-sentence rehabilitation

  [Doc. 829]. The government has responded in opposition, arguing that defendant has not

  identified any statutory authority under which the Court could grant the relief sought [Doc.

  833]. As the government notes, § 3742(e) does not provide an independent basis for review




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  of a final sentence. Rather, it describes the type of review conducted by an appellate court

  when a defendant appeals his or her sentence. Since that is not the case here, defendant’s

  reliance on § 3742(e) is misplaced. Accordingly, the Court will deny defendant’s second

  pro se motion [Doc. 829]. The Court now turns to consideration of defendant’s first motion

  for reduced sentence pursuant to pursuant to 18 U.S.C. § 3582(c)(2) [Docs. 770, 840].

  I.     Standard of Review

         “Federal courts are forbidden, as a general matter, to modify a term of imprisonment

  once it has been imposed, but the rule of finality is subject to a few narrow exceptions.”

  Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation and quotation

  marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

         [I]n the case of a defendant who has been sentenced to a term of
         imprisonment based on a sentencing range that has subsequently been
         lowered by the Sentencing Commission . . . , the court may reduce the term
         of imprisonment, after considering the factors set forth in section 3553(a) to
         the extent that they are applicable, if such a reduction is consistent with
         applicable policy statements issued by the Sentencing Commission.

  The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

  requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

  to a term of imprisonment based on a sentencing range that has subsequently been lowered

  by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758 (6th Cir.

  2013) (internal quotation marks and citation omitted). Second, “such reduction [must be]

  consistent   with    applicable    policy   statements    issued    by    the   Sentencing

  Commission.” Id. (internal quotation marks omitted). If the reviewing court determines


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  that the defendant is eligible for a sentence reduction, “[t]he court may then ‘consider

  whether the authorized reduction is warranted, either in whole or in part, according to the

  factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d 946, 949 (6th Cir.

  2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

         In determining whether a defendant has been sentenced to a term of imprisonment

  based on a sentencing range that has subsequently been lowered by the Sentencing

  Commission, the Court must first determine “the amended guideline range that would have

  been applicable to the defendant had the relevant amendment been in effect at the time of

  the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

  omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1).               Other than

  substituting Amendment 782 for the corresponding provision applicable when the

  defendant was originally sentenced, the Court “shall leave all other guideline application

  decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

  imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

  term “less than the term of imprisonment the defendant has already served.” Id. §

  1B1.10(b)(2)(A), (C).1 In addition to these limits, section 1B1.10 states that a court must

  also consider the § 3553 factors and the danger to the public created by any reduction in a




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           Section 1B1.10 provides one exception to the rule that a defendant may not receive a
  sentence below the amended guideline range—namely, if the defendant originally received a
  below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
  assistance to authorities.” U.S. Sentencing Guidelines § 1B1.10(b)(2)(B). That is not the case
  here.
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  defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-

  sentencing conduct. Id.

  II.    Factual Background

         A jury convicted defendant of the following: conspiracy to distribute and possession

  with the intent to distribute cocaine hydrochloride, cocaine base, marijuana, and ecstasy,

  in violation of 21 U.S.C. §§ 846 and 841(a)(1) (Count One); possession with intent to

  distribute marijuana, in violation of 21 U.S.C. §§ 841(a)(1) (Count Three); two counts of

  possession of a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C.

  §§ 924(c)(1)(A)(i) and (2) (Counts Two and Four); and conspiracy to commit money

  laundering, in violation of 18 U.S.C. §§ 1956(h), (a)(1)(A)(i), and (a)(1)(B)(i) (Count

  Fifteen) [Doc. 537]. At the time of sentencing, defendant was held responsible for at least

  15, but less than 50 kilograms of cocaine, 50 grams of crack cocaine, and 8.77 kilograms

  of marijuana, for a combined marijuana equivalent of 3212.81 kilograms. [Presentence

  Investigation Report (“PSR”) ¶¶ 76, 82]. Given the amount of drugs for which defendant

  was held responsible, defendant’s base offense level for the drug offenses was 34 [Id. ¶

  82]. After a two-level enhancement for money laundering, defendant’s total offense level

  was 36 [Id. ¶ 89]. Given defendant’s criminal history category of I, defendant’s applicable

  guideline range for her drug offenses was 188 to 235 months’ imprisonment [Id. ¶ 103].

  Defendant was also subject to consecutive mandatory minimums of 60 and 300 months’

  imprisonment, respectively, for her §924(c) offenses [Id. ¶¶ 124, 126 ; Doc 701]. Thus,

  her combined guideline range was 548 to 595 months’ imprisonment.

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           The Court sentenced defendant on July 20, 2011, to 548 months’ imprisonment

  [Doc. 701], which is within the range produced by the Guidelines. According to the

  government, defendant is currently scheduled for release on December 31, 2047 [Doc. 848

  p. 3].

  III.     Analysis

           Amendment 782 to the Guidelines, which became effective on November 1, 2014,

  revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

  the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

  Sentencing Guidelines Manual App. C, amend. 782.           Amendment 782 also makes

  corresponding changes to section 2D1.11. Amendment 788, which became effective on

  November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

  Guidelines Manual App. C, amend. 788.

           Applying Amendment 782, defendant’s revised base offense level is 32, and

  affording defendant the same adjustments that defendant originally received, her new total

  offense level is 34. U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). A total offense

  level of 34 and a criminal history category of I results in an amended guideline range of

  151 to 188 months’ imprisonment for the drug offenses. The consecutive mandatory

  minimum terms imposed for the § 924(c) offenses yield a combined total guideline range

  of 511 to 548 months’ imprisonment. Thus, defendant was sentenced to a term of

  imprisonment based on a sentencing range that has subsequently been lowered by the

  Sentencing Commission.

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         Next, the Court must determine whether a sentence reduction is consistent with

  applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

  Guidelines Manual § 1B1.10.         “[T]o satisfy the second requirement, a guidelines

  amendment must have had the effect of lowering the defendant’s applicable guideline

  range.” Riley, 726 F.3d at 758 (internal quotation marks and citations omitted). As

  discussed, that is the case here.

         The Court will now consider the § 3553(a) factors in determining whether and to

  what extent the defendant’s sentence may be reduced. As an initial matter, the Court

  determines that factors similar to the ones that applied at defendant’s initial sentencing also

  apply at this time. Even so, in regard to these factors and in the context of the instant

  motion, the Court has considered the nature and circumstances of defendant’s offense(s)

  and defendant’s history and characteristics.

         The Court has also considered the need for the sentence imposed to reflect the

  seriousness of the offense, to promote respect for the law, to provide just punishment for

  the offense, to afford adequate deterrence, to protect the public from further crimes of the

  defendant, and to provide the defendant with needed education and training, medical care,

  or other correctional treatment.2 Further, the Court has considered the kinds of sentences

  available and the sentencing range, the need to avoid unwarranted disparities, and the need

  to provide restitution to any victims. See 18 U.S.C. § 3553(a). And the Court has


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           The Court, however, is not intending to, and is not, imposing or lengthening the
  defendant’s sentence to enable the defendant to complete a treatment program or otherwise
  promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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  considered the danger to the public as the result of any reduction in defendant’s sentence,

  the seriousness of defendant’s offenses, and the need to protect the public. See U.S.

  Sentencing Guidelines Manual § 1B1.10, cmt. n.1(B)(ii).

         The government informs the Court that defendant was sanctioned in July, 2013, for

  failing to obey an order, but has remained incident-free since that time. As the government

  has no other information to present in opposition to a sentence reduction under Amendment

  782, it defers to the Court’s discretion whether to grant a reduction in defendant’s sentence,

  and, if so, to what extent.

         Accordingly, after considering section 1B1.10 and the relevant § 3553(a) factors,

  the Court finds a reduction in defendant’s sentence to be appropriate. In making this

  determination, the Court is particularly influenced by the changes in offense levels affected

  by Amendment 782. The Court has also taken into consideration the risk that defendant

  poses to public safety, the nature and circumstances of the defendant’s offense(s),

  defendant’s personal characteristics, criminal history, and post-sentencing conduct.

  IV.    Conclusion

         For the reasons stated herein, defendant’s motion [Docs. 770, 840] is GRANTED

  and defendant’s sentence is REDUCED to 511 months’ imprisonment. If this sentence

  is less than the amount of time defendant has already served, the sentence shall be reduced

  to a “time served” sentence. U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(C).

  Defendant’s second pro se motion [Doc. 829] is DENIED.




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         Except as otherwise provided in this order, all provisions of the judgment dated

  July 20, 2011 [Doc. 701], shall remain in effect.

         IT IS SO ORDERED.


                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE




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